Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OHIO

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ACME Hospitality, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  4641 Beat Road
                                  Litchfield, OH 44253
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Medina                                                        Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                700 Medina Street Lodi, OH 44254
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://moxiesgrille.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    ACME Hospitality, LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5812

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    ACME Hospitality, LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                           5001-10,000                                50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   ACME Hospitality, LLC                                                       Case number (if known)
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    ACME Hospitality, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 22, 2024
                                                  MM / DD / YYYY


                             X /s/ Jerad Miller                                                           Jerad Miller
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Sole Member




18. Signature of attorney    X /s/ Steven J. Heimberger                                                    Date January 22, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven J. Heimberger 0084618
                                 Printed name

                                 Roderick Linton Belfance LLP
                                 Firm name

                                 50 South Main Street, 10th Floor
                                 Akron, OH 44308
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     330-434-3000                  Email address      sheimberger@rlbllp.com

                                 0084618 OH
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name ACME Hospitality, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF OHIO                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Credit Card                                                                                                   $4,238.61
 P.O. Box 981535
 El Paso, TX 79998
 Bitty Advance                                       Future receivables                                     $32,009.00                        $0.00              $32,009.00
 1855 Griffin Road
 A-474
 Dania, FL 33004
 Biz2Credit                                          Loan advance                                                                                              $180,000.00
 dba Itria Ventures                                  based upon
 1 Penn Plaza, 31st                                  Debtor's right to
 Floor                                               receive Employee
 New York, NY 10119                                  Retention Credit
 Bizfund                                             Blanket lien on all                                    $39,050.00                 $50,000.00                $39,050.00
 2371 McDonald                                       assets of Debtor
 Avenue, 2nd Fl
 Brooklyn, NY 11223
 BMW Financial                                       BMW X1 SUV                                             $23,130.12                 $17,878.00                  $5,252.12
 Services
 P.O. Box 3608
 Dublin, OH 43016
 Capital One                                         Credit Card                                                                                                     $588.72
 PO Box 105474
 Atlanta, GA 30348
 Celtic Bank (Bluevine)                              Blanket lien on all                                    $46,732.02                 $50,000.00                $46,732.02
 268 South State                                     assets of Debtor
 Street
 Suite 300
 Salt Lake City, UT
 84111
 Cloudfund                                           Blanket lien on all                                    $42,971.00                 $50,000.00                $42,971.00
 dba Max Recovery                                    assets of Debtor
 400 Rella Boulevard
 Suite 165-1101
 Suffern, NY 10901
 Columbia Gas of Ohio                                Utilities                                                                                                     $1,934.55
 P.O. Box 117
 Columbus, OH 43216


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    ACME Hospitality, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Creative Colors LLC                                 Remodeling/constr                                                                                           $16,800.00
 17413 Woodford                                      uction services
 Avenue
 Lakewood, OH 44107
 East Hudson Capital                                 Blanket lien on all                                   $136,334.00                 $50,000.00              $136,334.00
 LLC                                                 assets of Debtor
 dba Global Capital
 Experts
 27-01 Queens Plaza
 North
 Suite 802
 Long Island City, NY
 11101
 First National Bank of                              Credit Card                                                                                                   $8,551.14
 Omaha
 P.O. Box 2818
 Omaha, NE 68103
 Huntington National                                 Blanket lien on all                                    $47,542.30                 $50,000.00                $47,542.30
 Bank                                                assets of Debtor
 5555 Cleveland
 Avenue - GW1W37
 Columbus, OH 43229
 Innovation Refunds,                                 Assistance filing for                                                                                       $55,491.33
 LLC                                                 Employee
 4350 Westown                                        Retention Tax
 Parkway, Suite 300                                  Credit (25%
 West Des Moines, IA                                 contingency fee)
 50266
 JP Morgan Chase,                                    Credit card                                                                                                   $4,581.83
 N.A.
 Mail Code LA4-7100
 700 Kansas Lane
 Monroe, LA 71203
 Ohio Edison                                         Utilities                                                                                                       $535.27
 76 South Main Street
 A-RPC
 Akron, OH 44308
 OnDeck Capital LLC                                  Blanket lien on all                                   $111,338.59                 $50,000.00              $111,338.59
 4700 W. Daybreak                                    assets of Debtor
 Parkway, Suite 200
 South Jordan, UT
 84009
 U.S. Small Business                                 Blanket lien on all                                   $765,282.79                 $50,000.00              $761,708.27
 Administration                                      assets of debtor
 2 North Street, Suite
 320
 Birmingham, AL
 35203




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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                           American Express
                           P.O. Box 981535
                           El Paso, TX 79998


                           Attorney General of the U.S.
                           Main Justice Bldg.
                           10th & Constitution Avenue, N.W.
                           Washington, DC 20530


                           Attorney General of the U.S.
                           U.S. D.O.J. Tax Division
                           Civil Trial Section, N.Region
                           P.O. Box 55, Ben Franklin Station
                           Washington, DC 20044


                           Bitty Advance
                           1855 Griffin Road
                           A-474
                           Dania, FL 33004


                           Biz2Credit
                           dba Itria Ventures
                           1 Penn Plaza, 31st Floor
                           New York, NY 10119


                           Bizfund
                           2371 McDonald Avenue, 2nd Fl
                           Brooklyn, NY 11223


                           BMW Financial Services
                           P.O. Box 3608
                           Dublin, OH 43016


                           Capital One
                           PO Box 105474
                           Atlanta, GA 30348


                           Celtic Bank (Bluevine)
                           268 South State Street
                           Suite 300
                           Salt Lake City, UT 84111




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                       Cloudfund
                       dba Max Recovery
                       400 Rella Boulevard
                       Suite 165-1101
                       Suffern, NY 10901


                       Columbia Gas of Ohio
                       P.O. Box 117
                       Columbus, OH 43216


                       Creative Colors LLC
                       17413 Woodford Avenue
                       Lakewood, OH 44107


                       East Hudson Capital LLC
                       dba Global Capital Experts
                       27-01 Queens Plaza North
                       Suite 802
                       Long Island City, NY 11101


                       First National Bank of Omaha
                       P.O. Box 2818
                       Omaha, NE 68103


                       Huntington National Bank
                       5555 Cleveland Avenue - GW1W37
                       Columbus, OH 43229


                       Innovation Refunds, LLC
                       4350 Westown Parkway, Suite 300
                       West Des Moines, IA 50266


                       Internal Revenue Service
                       PO Box 7346
                       Philadelphia, PA 19101-7346


                       Internal Revenue Service
                       Insolvency Group 6
                       1240 East Ninth Street
                       Room 493
                       Cleveland, OH 44199


                       JP Morgan Chase, N.A.
                       Mail Code LA4-7100
                       700 Kansas Lane
                       Monroe, LA 71203



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                       Ohio Attorney General
                       Collection Enforcement Section
                       Attn: Bankruptcy Unit
                       30 E. Broad Street, 14th Floor
                       Columbus, OH 43215


                       Ohio Department of Taxation
                       P.O. Box 530
                       Columbus, OH 43216-0530


                       Ohio Edison
                       76 South Main Street
                       A-RPC
                       Akron, OH 44308


                       OnDeck Capital LLC
                       4700 W. Daybreak Parkway, Suite 200
                       South Jordan, UT 84009


                       SBA, District Counsel
                       Small Business Administration
                       1350 Euclid Avenue, Suite 211
                       Cleveland, OH 44115


                       U.S. Small Business Administration
                       2 North Street, Suite 320
                       Birmingham, AL 35203


                       United States Attorney
                       Northern District of Ohio
                       801 Superior Avenue, Suite 400
                       Cleveland, OH 44113-1852




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                                         United States Bankruptcy Court
                                                Northern District of Ohio
 In re   ACME Hospitality, LLC                                                       Case No.
                                                            Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ACME Hospitality, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




January 22, 2024                               /s/ Steven J. Heimberger
Date                                           Steven J. Heimberger 0084618
                                               Signature of Attorney or Litigant
                                               Counsel for ACME Hospitality, LLC
                                               Roderick Linton Belfance LLP
                                               50 South Main Street, 10th Floor
                                               Akron, OH 44308
                                               330-434-3000 Fax:330-434-9220
                                               sheimberger@rlbllp.com




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